    Case 2:10-md-02179-CJB-DPC Document 1422-1 Filed 02/28/11 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig                *            MDL No. 2179
“Deepwater Horizon” in the Gulf                *
of Mexico on April 20, 2010                    *            SECTION “J”
                                               *            JUDGE BARBIER
This Document Relates to:                      *
State of Veracruz, Repub. of Mexico v.         *
  BP, PLC, No. 10-4239                         *            MAGISTRATE NO. 1
                                               *            MAGISTRATE SHUSHAN
                                               *
*     *    *   *    *   *   *   *   *   *    * *


                                    NOTICE OF SUBMISSION


TO:       Counsel


          PLEASE TAKE NOTICE that subject to Pre-trial Orders Nos. 11 and 25 in which the

Court directed that the Court will set the date of all hearings on Motions in this case, the Motion

of Defendants Anadarko Petroleum Corporation and Anadarko E&P Company LP to Dismiss the

First Amended Complaint of the State of Veracruz, Republic of Mexico Pursuant to Fed. R. Civ.

P. 12(b)(6) is tentatively noticed for submission on Wednesday, May 11, 2011, at 9:30 a.m.



                                             Respectfully submitted,

                                             BINGHAM McCUTCHEN, LLP


                                             /s/ Ky E. Kirby______________________________
                                             Ky E. Kirby
                                             ky.kirby@bingham.com
                                             David B. Salmons
                                             david.salmons@bingham.com
                                             Michael B. Wigmore
                                             michael.wigmore@bingham.com
Case 2:10-md-02179-CJB-DPC Document 1422-1 Filed 02/28/11 Page 2 of 3




                               Warren Anthony Fitch
                               tony.fitch@bingham.com
                               Randall M. Levine
                               randall.levine@bingham.com
                               2020 K Street, NW
                               Washington, DC 20006-1806
                               Telephone (202) 373-6000
                               Facsimile (202) 373-6001

                               James J. Dragna
                               jim.dragna@bingham.com
                               Bingham McCutchen LLP
                               355 South Grand Avenue
                               Suite 4400
                               Los Angeles, California 90071-3106
                               Telephone (213) 680-6436
                               Facsimile (213) 680-8636

                               KUCHLER POLK SCHELL
                               WEINER & RICHESON, LLC

                               Deborah D. Kuchler, T.A. (La. Bar No. 17013)
                               dkuchler@kuchlerpolk.com
                               Janika Polk (La. Bar No. 27608)
                               jpolk@kuchlerpolk.com
                               Robert Guidry (La. Bar No. 28064)
                               rguidry@kuchlerpolk.com
                               1615 Poydras Street, Suite 1300
                               New Orleans, LA 70112
                               Tel: (504) 592-0691
                               Fax: (504) 592-0696




                                  2
   Case 2:10-md-02179-CJB-DPC Document 1422-1 Filed 02/28/11 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, pursuant to Pre-trial Order No. 12, I have caused the

foregoing Notice of Submission to be served on all counsel via the Lexis Nexis File & Serve

system, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF system, who will

send a notice of electronic filing in accordance with the procedures established in MDL 2179, on

February 28, 2011.



                                            ____________/s/ Ky E. Kirby__________________
                                                          Ky E. Kirby




                                               3
